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                            NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION

IN RE:                                             :       CHAPTER 7
                                                   :
HP/SUPERIOR, INC.                                  :       CASE NO. 14-71797 - PWB
                                                   :
         Debtor.                                   :

                                CERTIFICATE OF SERVICE

       This is to certify that I, Michael J. Bargar, on November 29, 2021, caused to be served
true and correct copies of the Notice of Pleading, Deadline to Object, and for Hearing [Doc. No.
270] (the “Notice”) by delivering copies of the same via United States first class mail, postage
prepaid, to the following persons or entities at the addresses stated:


David S. Weidenbaum                                HP/Superior, Inc.
Office of the United States Trustee                5174 McGinnis Ferry Road
362 Richard B. Russell Building                    Suite 195
75 Ted Turner Drive, SW                            Alpharetta, GA 30005
Atlanta, GA 30303
                                                   Aaron Charles Brownell
S. Gregory Hays                                    US Department of Justice Tax Division
Hays Financial Consulting, LLC                     P.O. Box 14198
2964 Peachtree Rd, NW, Suite 555                   Washington, DC 14198
Atlanta, GA 30305
                                                   Kevin A. Stine
Cathy L. Scarver                                   Baker Donelson Bearman
P. O. Box 672587                                   Monarch Plaza, Suite 1600
Marietta, GA 30006                                 3414 Peachtree Road, NE
                                                   Atlanta, GA 30326
Ashley Reynolds Ray
Scroggins & Williamson One Riverside,              Internal Revenue Service
Suite 450                                          Insolvency Unit
4401 Northside Parkway                             401 West Peachtree Street
Atlanta, GA 30237                                  Stop 335-D
                                                   Atlanta, GA 30308
G. Frank Nason, IV
Lamberth, Cifelli, Ellis & Nason, P.A.             Department of Justice - Tax Division
1117 Perimeter Center West                         Attn: Chief, Civil Trial Section
Suite W 212                                        Southern Region
Atlanta, GA 30338                                  P.O. Box 14198
                                                   Ben Franklin Station
                                                   Washington, D.C. 20044




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United States Attorney General                      Wisconsin Department of Revenue
Main Justice Building                               Special Procedures Unit
10th and Constitution Avenue, NW                    PO Box 8901
Washington, D.C. 20530                              Madison, WI 53708-8901

U.S. Attorney                                       Hiram Cutting
Northern District of Georgia                        Wisconsin Department of Revenue
Civil Division, Attn: Civil Clerk                   Special Procedures Unit
600 Richard B. Russell Building                     PO Box 8901
75 Spring Street, S.W.                              Madison, WI 53708-8901
Atlanta, GA 30303
                                                    The Stark Collection Agency Inc.
Lisa Johnson                                        PO Box 45710
Bankruptcy Specialist                               Madison, WI 53744-5710
Internal Revenue Service
401 W Peachtree ST, NW                              The Stark Collection Agency
M/S 334-D                                           6425 Odana RD Suite 22
Atlanta, GA 30308                                   PO Box 45710
                                                    Madison, WI 53744-5710
F. Mark Bromley
Wisconsin Dept. of Justice                          State of Wisconsin, DWD – UI
17 West Main Street                                 PO Box 8914
P. O. Box 7857                                      Madison, WI 53708
Madison, WI 53707-7857
                                                    Ariane Daniels
                                                    State of Wisconsin, DWD – UI
                                                    PO Box 8914
                                                    Madison, WI 53708




         This is to certify further that on November 29, 2021, I, Michael J. Bargar, caused to be
served copies of the Notice [Doc. No. 270] by first class United States Mail, postage prepaid, on
all of those entities set forth on Exhibit “A” at the addresses stated.

        This 29th November, 2021.
                                             ARNALL GOLDEN GREGORY LLP
                                             Attorneys for Chapter 7 Trustee

                                             By:/s/ Michael J. Bargar
171 17th Street, NW, Suite 2100                 Michael J. Bargar
Atlanta, Georgia 30363                          Georgia Bar No. 645709
Phone: (404) 873-8500                           michael.bargar@agg.com




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                              EXHIBIT “A” FOLLOWS




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